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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

CHRISTINA AGUAYO                                     §
                                                     §
             Plaintiff                               §
                                                     §
v.                                                   §    CIVIL ACTION NO. 3:23-cv-00539-E
                                                     §
UNITED STATES OF AMERICA                             §
                                                     §
               Defendant                             §      JURY TRIAL DEMANDED

                PLAINTIFF’S AGREED MOTION FOR EXTENSION OF TIME
                  TO RESPOND TO DEFENDANT’S MOTION TO DISMISS
                     PLAINTIFF’S SECOND AMENDED COMPLAINT

        Plaintiff moves this Court, by agreement of counsel for Defendant, to extend the deadline

for her to respond to Defendant’s motion to dismiss Plaintiff’s second amended complaint (the

“Motion”) from May 16, 2023 to May 26, 2023 and would show as follows:

        1.     On April 25, 2023, Defendant filed the Motion with a deadline to respond on May

16, 2023.

        2.     With the agreement of Defendant, Plaintiff seeks a 10-day extension until May

26, 2023 to file a response to the Motion. The extension is sought due to lead counsel for

Plaintiff, Robert E. Goodman, Jr., being unavailable to work on or finalize a response to the

Motion while traveling to New Orleans, Louisiana for the wedding of his son from May 10, 2023

through May 16, 2023.

        3.     By email dated May 1, 2023, counsel for Defendant confirmed Defendant’s

agreement to this motion.




PLAINTIFF’S AGREED MOTION FOR EXTENSION OF TIME
TO RESPOND TO DEFENDANT’S MOTION TO DISMISS
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       WHEREFORE, Plaintiff prays that this Court grant her an extension to respond to

Defendant’s Motion to May 26, 2023 and grant her any other relief to which she is entitled.

                                                    Respectfully submitted,

                                                    /s/ Robert E. Goodman, Jr.
                                                    Robert E. Goodman, Jr.
                                                    State Bar No. 08158100
                                                    reg@kilgorelaw.com
                                                    John S. Morgan
                                                    State Bar No. 14447475
                                                    jsm@kilgorelaw.com
                                                    Kilgore & Kilgore, PLLC
                                                    3141 Hood Street, Suite 500
                                                    Dallas, Texas 75219
                                                    (214) 379-0843 Telephone
                                                    (214) 379-0840 Telecopy

                                                    ATTORNEY FOR PLAINTIFF

                              CERTIFICATE OF CONFERENCE
       I hereby certify that counsel for Defendant confirmed by email on May 1, 2023 that

Defendant does not oppose the relief sought in this motion.

                                                    /s/ Robert E. Goodman, Jr.
                                                    Robert E. Goodman, Jr.




PLAINTIFF’S AGREED MOTION FOR EXTENSION OF TIME
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                                  CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing was forwarded to

counsel of record via the Court’s electronic filing system and/or via email on the 2nd day of May

2023.

Brian W. Stoltz
Assistant United States Attorney
Texas Bar No. 24060668
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214-659-8626
Facsimile: 214-659-8807
brian.stoltz@usdoj.gov

                                                     /s/ Robert E. Goodman, Jr.
                                                     Robert E. Goodman, Jr.




PLAINTIFF’S AGREED MOTION FOR EXTENSION OF TIME
TO RESPOND TO DEFENDANT’S MOTION TO DISMISS
AND TO FILE FIRST AMENDED COMPLAINT – Page 3
